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 4                            IN THE UNITED STATES DISTRICT COURT
 5                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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 7   UNITED STATES OF AMERICA,                               CASE NO. CR F 06-313 LJO
 8                          Plaintiff,                       ORDER ON MOTION TO REDUCE
                                                             SENTENCE
 9          vs.
10   SAMNUEK BUMNA,
11                          Defendant.
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13                                               BACKGROUND
14          Defendant Samnuek Bunma (“defendant”) filed the instant motion to reduce his sentence
15   pursuant to 18 U.S.C. §3582(c)(2) on July 11, 2011. This is defendant’s third motion to reduce his
16   sentence. The basis for defendant’s current motion is the Fair Sentencing Act (the “FSA”), Pub. L. No.
17   111-220, and the emergency, temporary amendments to the United States Sentencing Guidelines (the
18   “guidelines”) promulgated to implement the FSA.
19          On March 20, 2009, defendant pled guilty to violations of 21 U.S.C. §841(a)(1) and 18 U.S.C.
20   §2–possession of marijuana with intent to distribute and aiding and abetting. On May 7, 2010,
21   defendant was sentenced to 27 months in custody and 60 months supervised release with conditions.
22          Defendant asserts that the amendments to the guidelines became effective on November 10, 2010
23   and act to reduce his sentence pursuant to 18 U.S.C. §3582(c)(2). For the following reasons, this motion
24   is DENIED.
25                                                   DISCUSSION
26          Defendant moves to reduce his sentence based on the FSA. The FSA provides for a cocaine
27   sentencing disparity reduction. Defendant, who was sentencing for a crime involving marijuana, has
28   not established that the FSA applies to reduce his sentence. Accordingly, defendant’s motion is

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 1   DENIED for failure to state a claim.
 2          Even if the FSA applied to his sentence, the FSA does not apply retroactively. The Ninth Circuit
 3   Court of Appeals recently held that the General Savings Statute, 1 U.S.C. §109, prevents retroactive
 4   application of the FSA. United States v. Baptist, – F.3d. –, 2011 WL 2150993 (9th Cir. 2011). That is,
 5   the General Savings Statute precludes this Court from reducing defendant’s sentence pursuant to the
 6   FSA, because he was sentenced prior to the enactment of the FSA. Accordingly, to the extent that
 7   defendant moves this Court to reduce his sentence pursuant to the FSA, that motion is DENIED.
 8          Defendant also moves to reduce his sentence pursuant to the amendments to the sentencing
 9   guidelines. The emergency amendments to the sentencing guidelines are silent on the issue of
10   retroactivity. Because the emergency amendments do not provide for retroactive applicability of the
11   FSA, defendant’s motion is DENIED.
12          The final sentencing guidelines amendments are proposed to have a retroactive effect; however,
13   the final sentencing guidelines shall not take effect until November 11, 2011. Accordingly, to the
14   extent that defendant moves for relief based on the final amendments, defendant’s motion to reduce his
15   sentence based on the amendments is not ripe. “Ripeness is a justiciability doctrine designed ‘to prevent
16   the courts, through avoidance of premature adjudication, from entangling themselves in abstract
17   disagreements over administrative policies, and also to protect the agencies from judicial interference
18   until an administrative decision has been formalized and its effects felt in a concrete way by the
19   challenging parties.’” National Park Hospitality Ass’n v. Dep’t of Interior, 538 U.S. 803, 807-08 (2003)
20   (quoting Abbott Labs. v. Gardner, 387 U.S. 136, 148-49 (1967)). This Court cannot apply the
21   retroactive sentencing guidelines until they take effect in November 2011. Accordingly, this Court
22   DENIES defendant’s motion to reduce his sentence.
23                                                CONCLUSION
24          For the foregoing reasons, defendant’s motion to reduce his sentence is DENIED.IT IS SO
            ORDERED.
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     B9ed48Dated:       July 15, 2011                 /s/ Lawrence J. O'Neill
26                                                UNITED STATES DISTRICT JUDGE
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